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                                                                                  10/20/2020
                          UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF TEXAS


IN RE: MIKE and SONDRA AHLERS                                  CASE NO. 19-50152
           DEBTORS                                             CHAPTER 13

                          ORDER DISMISSING CHAPTER 13 CASE


          On this day come on for hearing the Motion of the Debtors to Dismiss their Chapter

13case.

       The Court finds that the Debtors are entitled to Dismiss their case and said Motion is
hereby Granted.


          IT IS THEREFORE ORDERED that the above referenced case is hereby Dismissed.




          SO ORDERED.


                                                    Signed on 10/20/2020

                                                                                    SR
                                          HONORABLE BRENDA T. RHOADES,
                                          UNITED STATES BANKRUPTCY JUDGE
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